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8                              IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                   Respondent,                           No. CR S-02-0079 FCD GGH P

12             vs.

13   WESLEY SINE,

14                   Movant.                               ORDER

15                                                /

16                   Pursuant to 28 U.S.C. § 455(a), I disqualify myself from participating in this

17   matter. The Clerk of the court shall reassign this case to another Magistrate Judge for all further

18   proceedings, notify the parties, and make appropriate adjustments in the assignments of civil

19   cases to compensate for such reassignment. All previous, outstanding orders shall remain in

20   effect.

21   DATED: 08/05/08
                                                           /s/ Gregory G. Hollows
22
                                                           UNITED STATES MAGISTRATE JUDGE
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     GGH:gh:035
25   sine0079.rec

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